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U.S. Department of Justice

Andrew E. Lellz’ng
Unz'ted States Attomey
Disirict ofMaSSachusetts

 

 

Main Reception: (6] 7) 748-3100 John Joseph Moakley United State.s' Courlhouse
1 Courtlzousc Way
Suite 9200
Boston, Massachusetts 022] 0

January 22, 2018

Geoffrey G. Nathan, Esq.
132 Boylston Street
Boston, l\/.[A 02116

Re: United States v. Ouang PT Le
Criminal No. 1 7-10260~LTS:2

Dear Mr. Nathan: 1

The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and
your client, Quang PT Le (“Defendant”), agree as follows with respect to the above-referenced
case: \ `

l. Change of Plea

At the earliest practicable date, Defendant shall plead guilty to all counts in which he is
named in the above-referenced lndictrnent: kidnapping, in Violation of 18 U.S.C. § 1201(a)(1)
(Count One); conspiracy to collect extensions of credit by extortionate means, in Violation of 18
U.S.C. § 894(a) (Cou;nt Two); and illegal gambling business, in violation of 18 U.S.C. § 1955.
Defendant expressly and unequivocally admits that he committed the crimes charged in Counts
One through Three of the Indictrnent, did so knowingly and intentionally, and is in fact guilty of
. those offenses.

2. Penalties

Defendant faces the following maximum penalties on Count One of the Indictment,
charging l<idnapping: incarceration for any term of years or life; supervised release for five years ;
a iine of $250,000; a mandatory special assessment of $ l 00; restitution; and forfeiture to the extent '
charged in the lndictment.

Defendant faces the following maximum penalties on Count Two of the lndictment,
charging conspiracy to collect extensions of credit by extortionate means: incarceration for 20
years; supervised release for three years; a fine of $250,000; a mandatory special assessment of
$100; restitution; and forfeiture to the extent charged in the Indictment.

 

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Defendant faces the following maximum penalties on Count Three of the Indictment,
charging illegal gambling business: incarceration for five years ; supervised release for three years ;
-a fine of $250,000; a mandatory special assessment of $lOO; and forfeiture to the extent charged
in the lndictment.

Defendant also recognizes that pleading guilty may have consequences with respect to
Defendant’s immigration status if Defendant is not a citizen of the United States. Under federal
law, a broad range of crimes are removable offenses, including the offenses to which Defendant is
pleading guilty. lndeed, because Defendant is pleading guilty to kidnapping, conspiracy to collect
extensions of credit by extortionate means, and illegal gambling business, removal is
presumptively mandatory Removal and other immigration consequences are the subject of a
separate proceeding, however, and Defendant understands that no one, including defense counsel
and the District Court, can predict to a certainty the effect of this conviction on Defendant’s
immigration status. Defendant nevertheless affirms his decision to plead guilty regardless of any
immigration consequences that this plea may entail, even if the consequence is Defendant’s
automatic removal from the United States.

3. Sentencing Guidelines

The sentence to be imposed`upon Defendant is within the discretion of the District Court
(“Court”), subject to the statutory maximum penalties set forth above and the provisions of the
Sentencing Reform Act, and the advisory United States Sentencing Guidelines (“USSG” or
“Guidelines”). While the Court may impose a sentence up to and including the statutory maximum
term of imprisonment and statutory maximum fine, it must consult and take into account the USSG
and the other factors set forth in 18 U.S.C. § 35 53(a) in imposing a sentence.

The parties agree that Defendant’s total offense level under the USSG (prior to any
adjustment for acceptance of responsibility) is calculated as follows:

¢ in accordance with USSG § 3D1.2(d), Defendant’s convictions for Counts One,
Two and Three each form a separate group ;

¢ in accordance with USSG §2A4.1(a), Defendant’s base offense level for
\` kidnapping (Count One) is 32; `

0 in accordance with USSG § 2E2.l, Defendant’s base offense level for
conspiracy to collect an extension of credit by extortionate means (Count Two)
is 205

¢ in accordance with USSG §2E2.1(b)(2)(A), Defendant’s offense level for
Group Two is increased by two levels, because Victim #1 suffered a bodily
injury;

0 in accordance with USSG §2E2.l(b)(l)(C), Defendant’s offense level for

 

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Group Two is increased by three levels for possession of a dangerous weapon;

¢ in accordance with USSG § 2E3.l, Defendant’s base offense level for illegal
gambling business (Group Three) is 12;

¢ in accordance with USSG § 3D1.4, Group One counts as one unit, Group Two
counts as one half unit because it is seven levels less serious than Group One,
and Group Three is disregarded because it is nine or more levels less serious
than Group One; and

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v in accordance with USSG § 3Dl.4, Defendant’s offense level for Group One is
increased by one level, because Defendant is responsible for one and one half
units.

lf Defendant contends that there is a basis for departure from, or a sentence outside, the
otherwise applicable Guidelines sentencing range based 'on Defendant’s medical, mental, and/or
emotional condition, or otherwise intends to rely on any such condition at sentencing, Defendant
will, forthwith upon request, execute all releases and other documentation necessary to permit the
U.S. Attorney and his experts (including Bureau of Prisons medical personnel) to obtain access to
Defendant’s medical, psychiatric, and psychotherapeutic records and will also provide to the U.S.
Attorney forthwith copies of any such records already in Defendant’s possession ln addition,
Defendant will authorize Defendant’s care providers to discuss Defendant’s condition with the
U.S. Attorney and his agents (including Bureau of Prisons medical personnel), as well as experts
retained by the U.S. Attorney. Defendant also agrees to submit to examinations and interviews
with experts retained by and chosen by the U.S. Attorney (including Bureau of Prisons medical
personnel). -

The U.S. Attorney reserves the right to oppose Defendant’s argument(s) for a departure
from, or a sentence outside, the USSG under the factors set forth in 18 U.S.C. § 35 5 3(a).

Based on Defendant’s prompt acceptance of personal responsibility for the offenses of
conviction in this case, and information known to the U.S. Attorney at this time, the U.S. Attorney

agrees to recommend that the Court reduce by three levels Defendant’s adjusted offense level
under USSG § 3E1.l.

The U.S. Attomey reserves the right not to recommend a reduction under USSG § 3El.l
if, at any time between Defendant’s execution of this Plea Agreement and sentencing, Defendant:

(a) Fails to admit a complete factual basis for the plea;
(b) Fails to truthfully admit Defendant’s conduct in the offenses of conviction;

(c) Falsely denies, or frivolously contests, relevant conduct for which
Defendant is accountable under USSG § 1B1.3;

 

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(d)

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(s)
(h)
(i)

(j)

Fails to provide truthful information about Defendant’s financial status;
Gives false or misleading testimony in any proceeding relating to the
criminal conduct charged in this case and any relevant conduct for which

Defendant is accountable under USSG § 1Bl.3;

Engages in acts that form a basis for finding that Defendant has obstructed
or impeded the administration of justice under USSG § 3Cl .l ;

lntentionally fails to appear in Court or violates any condition of release;
Commits a crime;

Transfers any asset protected under any provision of this Plea Agreement;
or `

Attempts to withdraw Defendant’s guilty plea.

Defendant understands and acknowledges that Defendant may not withdraw his plea of
guilty if, for any of the reasons listed above, the U.S. Attorney does not recommend that Defendant
receive a reduction in offense level for acceptance of responsibility Defendant also understands
and acknowledges that, in addition to declining to recommend an acceptance~of~responsibility
adjustrnent, the U.S. Attorney may seek an upward adjustment pursuant to USSG § 3C1.1 if
Defendant obstructs justice after the date of this Plea Agreement.

Nothing/ in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Off`rce with accurate and complete information regarding this case.

4. Sentence Recommendation

The U.S. Attorney agrees to recommend the following sentence before the Court:

(a)

(b)

(C)
(d)

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incarceration at the low end of the Guidelines sentencing range as calculated
by the parties in Paragraph 3;

a fine within the .Guidelines sentencing range as calculated by the parties,
unless the Court finds that Defendant is not able and, even with the use of a
reasonable installment schedule, is not likely to become able to pay a fine;
36 months of supervised release;

a mandatory special assessment of $300, which Defendant must pay to the
Clerk of the Court on or before the date of sentencing (unless Defendant
establishes to the Court’s satisfaction that Defendant is unable to do so);

restitution of $15,050, joint and several with the other defendants; and

 

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forfeiture as set forth in Paragraph 8.

Defendant agrees to provide the U.S. Attorney expert reports, motions, memoranda of law
and documentation of any kind on which Defendant intends to rely at sentencing not later'than 7
days before sentencing Any basis for sentencing as to which Defendant has not provided the U.S.
Attorney all such items at least 7 days before sentencing shall be deemed waived.

5. Waiver of Rights to Appeal and to Bring Future Challenge

(a)

(b)

(C)

(d)

(€)

Defendant has conferred with his attorney and understands that he has the

right to challenge both his conviction and his sentence (including any orders

relating to the terms and conditions of supervised release, fines, forfeiture,
and restitution) on direct appeal. Defendant also understands that, in some
circumstances, Defendant may be able to argue in a future proceeding
(collateral or otherwise), such as pursuant to a motion under 28 U.S.C.
§2255, 28 U.S.C. §2241, or 18 U.S.C. §3582(0), that Defendant’s
conviction should be set aside or Defendant’s sentence (including any
orders relating to the terms and conditions of supervised release, fmes,
forfeiture, and restitution) set aside or reduced. '

Defendant waives any right to challenge Defendant’s conviction on direct
appeal or in a future proceeding (collateral or otherwise).

Defendant agrees not to tile a direct appeal or challenge in a future
proceeding (collateral or otherwise) any sentence of imprisonment of 121
months or less or any orders relating to the terms and conditions of
supervised release, fines, forfeiture, and restitution This provision is
binding even if the Court’s Guidelines analysis is different from that set
forth in this Plea Agreement.

This Plea Agreement does not affect the rights of the United States as set
forth in 18 U.S.C. § 3742(b). Defendant understands and acknowledges
that the U.S. Attorney has retained all appeal rights

Regardless of the previous sub-paragraphs, Defendant reserves the right to
claim that: (i) Defendant’s lawyer rendered ineffective assistance of counsel
under Strickland v. Washz'ngton; or (ii) the prosecutor in this case engaged
in misconduct that entitles Defendant to relief from Defendant’s conviction
or sentence.

6 . Other Post-Sentence Events `

(a)

If, despite the waiver provision of sub-paragraph 5 (c), Defendant appeals or
challenges in a future proceeding (collateral or` otherwise) Defendant’s

 

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sentence, the U.S. Attorney reserves the right to argue the correctness of the
sentence imposed by the Court (in addition to arguing that any appeal or
future challenge (collateral or otherwise) is waived as a result of the waiver
in sub-paragraph 5(0)).

(b) If, despite the waiver provision of sub~paragraph 5 (c), Defendant seeks re-
sentencing, Defendant agrees not to seek to be re-sentenced with the benefit
of any change to the Criminal History Category that the Court calculated at
the time of Defendant’s original sentencing, except to the extent that
Defendant has been found actually factually innocent of a prior crime.

(c) In the event of a re-sentencing following an appeal from or future challenge
(collateral or otherwise) to Defendant’s sentence, the U.S. Attorney reserves
the right to seek a departure from and a sentence outside the USSG if, and
to the extent, necessary to reinstate the sentence the U.S. Attorney
advocated at Defendant’s initial sentencing pursuant to this Plea

. Agreement.

7. Court Not Bound by Plea Agreement

The parties ’ sentencing recommendations and their respective calculations under the USSG
are not binding upon the U.S. Probation Office or the Court. Within the maximum sentence
Defendant faces under the applicable law, the sentence to be imposed is within the sole discretion
of the Court. Defendant’s plea will be tendered pursuant to Fed. R. Crim. P. ll(c)(l)(B).
Defendant may not withdraw his plea of guilty regardless of what sentence is imposed, or because
the U.S. Probation Office or the Court declines to follow the parties’ USSG calculations or
recommendations Should the Court decline to follow the U.S. Attorney’s USSG calculations or
recommendations, the U.S. Attorney reserves the right to defend the Court’s calculations and
sentence in any direct appeal or future challenge (collateral or otherwise).

8. Forfeiture

Defendant understands that the Court will, upon acceptance of Defendant’s guilty plea,
enter an order of forfeiture as part of Defendant’s sentence, and that the order of forfeiture may
include assets directly traceable to Defendant’s offense, assets used to facilitate Defendant’s
offense, substitute assets and/or a money j udgment equal to the value of the property derived from,
or otherwise involved in, the offense.

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The assets to be forfeited specifically include, without limitation, the following:

a. a money judgment equal to the amount of proceeds the Defendant obtained as a
result of his offense conduct; and

b. $l9,54l in United States currency seized from 28 Elmdale Street, Apartment #6,
Dorchester, Massachusetts, on August 22, 2017.

 

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Defendant admits that these assets are subject to forfeiture on the grounds that they constitute, or
are derived from, proceeds of Defendant’s offense; and they were used to facilitate Defendant’s
offense. Defendant agrees to consent to the entry of orders of forfeiture for such property,
including the entry of a forfeiture money judgment, and Defendant waives the requirements of
Federal Rules of Criminal Procedure l 1(b)(1)(.l), 32.2, and 43 (a) regarding notice of the forfeiture
in the charging instrument, advice regarding the forfeiture at the change-of-plea hearing,
announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment
Defendant understands and agrees that forfeiture shall not satisfy or affect any fine, lien, penalty,
restitution, cost of imprisonment, tax liability or any other debt owed to the United States.

Defendant agrees that the United States is entitled to forfeit as “substitute assets” any other
assets of Defendant up to the value of the forfeiture money judgment

Defendant agrees to assist fully in the forfeiture of the foregoing assets. Defendant agrees
to promptly take all steps necessary to pass clear title to the forfeited assets to the United States,
including but not limited to executing any and all documents necessary to transfer such title,
assisting in bringing any assets located outside of the United States within the jurisdiction of the
United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are not sold, disbursed, wasted, hidden or otherwise made unavailable for forfeiture Defendant
further agrees (a) not to assist any third party in asserting a claim to the forfeited assets in an
ancillary proceeding, and (b) to testify truthfully in any such proceeding 111 addition, if the U.S.
Attomey requests, Defendant shall deliver to the U.S. Attorney within 30 days after signing this
Plea Agreement a sworn financial statement disclosing all assets in which Defendant currently has
any interest and all assets over which Defendant has exercised control, or has had any legal or
beneficial interest, at any time from October, 2016 to the present Defendant further agrees to be
deposed with respect to Defendant’s assets at the request of the U.S. Attorney.

Defendant also agrees to waive all constitutional, le gal, and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with
this Plea Agreement. Defendant agrees not to challenge or seek review of any civil or~
administrative forfeiture of any property subject to forfeiture under this Plea Agreement, and will
not assist any third party with regard to such challenge or review.

Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case and consents to the forfeiture of all such assets.

9. Civil Liability

By entering into this Plea Agreement, the U.S. Attorney does not compromise any civil
liability, including but not limited to any tax liability, Defendant may have incurred or may incur
as a result of Defendant’s conduct and plea of guilty to the charges specified in Paragraph 1 of this
Plea Agreement.

 

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10. Reiection of Plea bv Court

Should Defendant’s guilty plea not be accepted by the Court for whatever reason, or later
be withdrawn on Defendant’s motion, this Plea Agreement shall be null and void at the option of
the U.S. Attorney.

11. Breach of Plea Agreement

If the U.S. Attorney determines that Defendant has failed to comply with any provision of
this Plea Agreement, has violated any condition of Defendant’s pretrial release, or has committed
any crime following Defendant’s execution of this Plea Agreement, the U.S. Attorney may, at his
sole option, be released from his commitments under this Plea Agreement in their entirety by
notifying Defendant, through counsel or otherwise, in writing. The U. S. Attorney may also pursue
all remedies available to him under the law, regardless whether he elects to be released from his
commitments under this Plea Agreement. Further, the U.S. Attorney may pursue any and all
charges that have been, or are to be,l dismissed pursuant to this Plea Agreement. Defendant
recognizes that his breach of any obligation under this Plea Agreement shall not give rise to
grounds for withdrawal of Defendant’s guilty plea, but will give the U.S. Attorney the right to use
against Defendant before any grand jury, at any trial or hearing, or for sentencing purposes, any
statements made by Defendant and any information, materials, documents or objects provided by
Defendant to the government, without any limitation, regardless of any prior agreements or
understandings written or oral, to the contrary. 111 this regard, Defendant hereby waives any
defense to any charges that Defendant might otherwise have based upon any statute of limitations,
the constitutional protection against pre-indictment delay, or the Speedy Trial Act.

12. Who is Bound bv Plea Agreement

This Plea Agreement is limited to the U. S Attorney for the District of Massachusetts and
cannot and does not bind the Attorney General of the United States or any other federal, state or
local prosecutive authorities .

 

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13. Modifications to Plea Agreement

This Plea Agreement can be modified or supplemented only in a written memorandum
signed by the parties or on the record in court.

If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Timothy E. Moran.

Very truly yours,

ANDREW E. LELLING
Unite States Attorney

By: £€/¢~ [/X/h///’
/GLE" NN A MACKerAY
Chief, Organized Crime and Gang Unit

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TlMOTI;l’Y E. MORAN
Assistant U.S. Attorney

 

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ACKNOWLEDGMENT OF PLEA AGREEMENT

 

1 have read this letter and 1 have had this letter read to me in my native language in its
entirety and discussed it with my attorney 1 hereby acknowledge that (a) it accurately sets forth
my plea agreement with the United States Attorney’s Office for the District of Massachusetts; (b)
there are no unwritten agreements between me and the United States Attorney’s Office; and (c) no
4 official of the United States has made any unwritten promises or representations to me, in
connection with my change of plea. 111 addition, 1 have received no prior offers to resolve this
case. 1 understand the crimes to which 1 have agreed to plead guilty, the maximum penalties for
those offenses, and the Sentencing Guideline penalties potentially applicable to them. 1 am
satisfied with the legal representation provided to me by my attorney We have had sufficient time
to meet and discuss my case. We have discussed the charges against me, possible defenses 1 might
have, the terms of this Plea Agreement and whether 1 should go to trial. 1 am entering into this
Plea Agreement freely, voluntarily, and knowingly because 1 am guilty of the offenses to which 1
am pleading guilty, and 1 believe this Plea Agreement is in my best interest

QUA%G; PT LE

Defendant

Date: 112 `j ' £Olg

1 certify that Quang PT Le has read this Plea Agreement and has had this Plea Agreement
read to him in his native language and that we have discussed its meaning 1 believe he understands
the Plea Agreement and is entering into the Plea Agreement freely, voluntarily, and knowingly 1
also certify that the U.S. Attorney has not extended any other offers regarding a change of plea in

this case.
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GEOFFREY .NATHAN

Attorney for Defendant
Date: @1"’ \'M z(‘)l§

 

